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                                           6                               IN THE UNITED STATES DISTRICT COURT
                                           7
                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                          10   THOMAS E. HIGGINSON,
For the Northern District of California




                                          11                  Plaintiff,                                    No. C 19-01647 WHA
    United States District Court




                                          12     v.
                                          13   ALTERNATIVE RECOVERY                                         ORDER RE STIPULATED
                                               MANAGEMENT, INC.,                                            REQUEST FOR DISMISSAL
                                          14
                                                              Defendant.
                                          15                                                     /
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                                                      For the reasons stated in the previous order (Dkt. No. 28), the proposed order regarding
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                                               the stipulated request for dismissal is DENIED.
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                                                              IT IS SO ORDERED.
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                                               Dated: July 25, 2019.
                                          21                                                         WILLIAM ALSUP
                                                                                                     UNITED STATES DISTRICT JUDGE
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